                    Case 1-22-43097-ess                       Doc 7      Filed 12/15/22              Entered 12/16/22 00:09:40


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 22-43097-ess
Kings County Foundation LLC                                                                                            Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 13, 2022                                               Form ID: 764                                                               Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 15, 2022:
Recip ID                 Recipient Name and Address
db                     + Kings County Foundation LLC, 95 Guernsey Street, Brooklyn, NY 11222-3111

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Dec 13 2022 18:15:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn Office), U.S. Federal
                                                                                                                  Office Building, 201 Varick Street, Suite 1006,
                                                                                                                  New York, NY 10014-4811

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 15, 2022                                            Signature:           /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 13, 2022 at the address(es) listed
below:
Name                                  Email Address
Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov


TOTAL: 1
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                                 United States Bankruptcy Court
                                       Eastern District of New York
                                   271−C Cadman Plaza East, Suite 1595
                                       Brooklyn, NY 11201−1800

IN RE:                                                                                   CASE NO: 1−22−43097−ess
   Kings County Foundation LLC
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                    CHAPTER: 11
   85−4388242
                        DEBTOR(s)


          NOTICE OF DEFICIENT FILING − CHAPTER 11 NON−INDIVIDUAL
NOTICE IS HEREBY GIVEN THAT:
The bankruptcy petition filed by the above−referenced debtor(s) on December 13, 2022, did not include the
following item(s):

DOCUMENTS DUE AT TIME OF FILING OF BANKRUPTCY PETITION

         Voluntary Petition for Non−Individuals Filing For Bankruptcy (Official Form 201) (Signed) (Original)
         Attachment to Voluntary Petition for Non−Individuals Filing For Bankruptcy Under Chapter 11
         (required only if the debtor is filing under Chapter 11 and is required to file periodic reports with the
         Securities and Exchange Commission) (Official Form 201A)
         List of Creditors (Certified by Attorney or Debtor, if Pro−Se) Typed (Name and Address ONLY)
         Creditor Matrix Pursuant to E.D.N.Y. LBR 1007−3
         Filing fee for commencing a bankruptcy case pursuant to 28 U.S.C. § 1930(a)
         Statement Pursuant to E.D.N.Y. LBR 1073−2(b)
         Partnership Statement Pursuant to E.D.N.Y. LBR 1074−1(b) (Partnership Only)
         Corporate Resolution Pursuant to E.D.N.Y LBR 1074−1(a)
         Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007(a)(1)
         Corporate Disclosure Statement Pursuant to Fed. R. Bankr. P. 1073−3
         For Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
         Insiders (Official Form 204) (Signed by Debtor)
         Affidavit Pursuant to E.D.N.Y. LBR 1007−4


DOCUMENTS DUE WITHIN FOURTEEN (14) DAYS OF FILING OF BANKRUPTCY PETITION

         Disclosure of Compensation of Attorney for Debtor 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b)
         (Official Form 2030) (Due Within 14 Days))


                                     [Continued on other side of page]
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            Summary of Assets and Liabilities for Non Individuals (Official Form 206Sum)
            Schedule A/B (Assets − Real and Personal Property) (Official Form 206A/B)
            Schedule D (Creditors Who Have Claims Secured by Property) (Official Form 206D)
            Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 206E/F)
            Schedule G (Executory Contracts and Unexpired Leases) (Official Form 206G)
            Schedule H (Codebtors) (Official Form 206H)
            Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
            List of Equity Security Holders and Addresses (Corporation Only)
            Statement of Financial Affairs for Non−Individuals Filing for Bankruptcy (Official Form 207)
            Most recent balance sheet, statement of operations, cash flow statement, and Federal income tax return,
            or a statement that none of the foregoing have been prepared or filed (Small Business and Subchapter V
            Only) (Due Within 7 Days)


                         YOUR CASE MAY BE DISMISSED IF
             YOU DO NOT MAKE THE REQUIRED FILINGS ON A TIMELY BASIS

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due at the time of filing of this bankruptcy petition are not filed
with the Court within three days of this notice.

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due within 14 days of the filing of this bankruptcy petition are
not timely filed with the Court.
FURTHER NOTICE IS GIVEN THAT if this bankruptcy case is dismissed for failure to make the required
filings, or for any other reason, then the debtor may not receive the benefit of the automatic stay in a subsequent
bankruptcy case filed for a period of up to one year. See 11 U.S.C. §§ 362(c)(3) and (c)(4).

FURTHER NOTICE IS GIVEN THAT the debtor must serve copies of the Chapter 11 petition on the United
States Trustee, Internal Revenue Service, and Securities and Exchange Commission (see addresses below).



BROOKLYN CASES                                                                           CENTRAL ISLIP CASES
Office of the United States Trustee                                                      Office of the United States Trustee
U.S. Federal Office Building                                                             Long Island Federal Courthouse
201 Varick Street, Suite 1006                                                            560 Federal Plaza
New York, New York 10014                                                                 Central Islip, New York 11722
Internal Revenue Service                                                                 Internal Revenue Service
P.O. Box 7346                                                                            P.O. Box 7346
Philadelphia, PA 19101−7346                                                              Philadelphia, PA 19101−7346
Securities & Exchange Commission                                                         Securities & Exchange Commission
Northeast Regional Office                                                                Northeast Regional Office
Woolworth Building                                                                       Woolworth Building
233 Broadway                                                                             233 Broadway
New York, New York 10279                                                                 New York, New York 10279

Dated: December 13, 2022                                                             For the Court, Robert A. Gavin, Jr., Clerk of Court

BLdef11a7r.jsp [Notice of Deficient Filing Chapter 11 Individual effective 02/19/2020]
